Case 1:24-mj-00498-WEF Document 10 Filed 12/17/24 Page 1 of 1 PagelD# 25

AO 470 (8/85) Order of Temporary Detention RECEIVED

~__'N OPEN COURT
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA DEC | 7 2M

CLERK US. DISTRICT COU
DRIA, VIRGINIA

UNITED STATES OF AMERICA ORDER OF TEMPORARY DETENTION
PENDING HEARING PURSUANT TO
BAIL REFORM ACT
VS.

_ Abdul ah Hassan case no. i2Y my+499

Upon motion of the United States Government, it is hereby ORDERED that a

detention hearing is hereby set for lal [04 at 2:0) DM.

before the Honorable William E. Fitzpatrick at 401 Courthouse Square, Alexandria

Virginia. Pending this hearing, the defendant shall be held in custody by the United:

- States Marshal and produced for the hearing.

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Willia Fitzpatrick
United States Magistrate Judge

Date: 2)! Dox Y

*If not held immediately upon defendant's first appearance, the hearing maybe continued for up to three days upon motion of
the Government, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2). A hearing is required whenever the
conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth the grounds that may be asserted only by the
attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the
Government or upon the judicial officer’s own motion if there is a serious risk that the defendant (a) will flee or (b) will
obstruct or attempt to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a
prospective witness or juror.
